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                                                                                  FILED IN THE
3                                                                             U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON


4                                                                        Oct 01, 2021
                              UNITED STATES DISTRICT COURT                   SEAN F. MCAVOY, CLERK
5
                             EASTERN DISTRICT OF WASHINGTON
6

7    ASHLEY D.,1                                     No.   4:20-cv-5215-EFS

8                                 Plaintiff,
                                                     ORDER GRANTING THE PARTIES’
9                    v.                              STIPULATED MOTION FOR
                                                     REMAND PURSUANT TO
10   KILOLO KIJAKAZI, Acting                         SENTENCE FOUR OF 42 U.S.C.
     Commissioner of Social Security,2               § 405(g)
11
                                  Defendant.
12

13            On September 7, 2021, the parties filed a Stipulated Motion for Remand.

14   ECF No. 23. The parties agree that the matter should be reversed and remanded

15   to the Commissioner of Social Security pursuant to sentence four of 42 U.S.C.

16   § 405(g) for further administrative proceedings as set forth below. The parties also

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     1   To protect the privacy of the social-security Plaintiff, the Court refers to her by
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     first name and last initial or by “Plaintiff.” See LCivR 5.2(c).
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     2   On July 9, 2021, Ms. Kijakazi became the Acting Commissioner of Social Security.
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     She is therefore substituted for Andrew Saul as Defendant. Fed. R. Civ. P. 25(d); 42
22
     U.S.C. § 405(g).
23


                                                                                       ORDER - 1
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1    agree that Plaintiff is entitled to reasonable attorney fees and costs under the

2    Equal Access to Justice Act, 28 U.S.C. § 2412(d), upon proper request to the Court.

3          Consistent with the parties’ agreement, IT IS HEREBY ORDERED:

4          1.     The parties’ Stipulated Motion for Remand, ECF No. 23, is

5                 GRANTED.

6          2.     The case caption is to be AMENDED consistent with footnote 2.

7          3.     Judgment shall be entered for Plaintiff.

8          4.     This matter is REVERSED and REMANDED to the Commissioner

9                 of Social Security for further administrative proceedings pursuant to

10                sentence four of 42 U.S.C. § 405(g). On remand, the Appeals Council

11                is to instruct the ALJ to offer Plaintiff the opportunity for a hearing

12                and take the following action to complete the administrative record:

13                   further evaluate the medical evidence, including the opinions of

14                    Dr. Marks and Dr. Rubin

15                   reassess Plaintiff’s residual functional capacity and subjective

16                    complaints

17                   proceed to steps four and five, and

18                   if necessary, obtain vocational evidence.

19                The ALJ is to then issue a new decision.

20         5.     All other pending motions are DENIED AS MOOT.

21         6.     All hearings and other deadlines are STRICKEN.

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                                                                                ORDER - 2
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1           7.    If filed, the Court will consider Plaintiff’s motion for fees and

2                 expenses under the Equal Access to Justice Act.

3           8.    The Clerk’s Office is directed to CLOSE this file.

4           IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

5    and provide copies to all counsel.

6           DATED this 1st day of October 2021.

7
                                     s/Edward F. Shea
8                                    EDWARD F. SHEA
                             Senior United States District Judge
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                                                                                 ORDER - 3
